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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 11

    AGWAY FARM & HOME SUPPLY, LLC 1                          Case No. 22-10602 (JKS)

                                Debtors.


                                               AFFIDAVIT OF SERVICE

        I, Sharon Lee, depose and say that I am employed by Stretto, the claims and noticing agent
for the Debtors in the above-captioned cases.

       On September 21, 2023, at my direction and under my supervision, employees of Stretto
caused the following documents to be served via electronic mail on the service list attached hereto
as Exhibit A:

      •      Thirteenth Monthly Fee Application of Focus Management Group USA Inc.,
             Financial Advisor to the Debtor, for Allowance of Compensation and Reimbursement
             of Expenses for the Period from July 1, 2023 Through July 31, 2023 (Docket No. 767)




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____________________________________________
1
 1 The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230
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                    Exhibit A
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                                                                                   Exhibit A
                                                                           Served via Electronic Mail

                          Name                                       Attention 1                            Attention 2                                Email
                                                                                                                                         jwaxman@morris.james.com
 Agway Farm & Home Supply, LLC                             c/o Morris James LLP            Attn: Jeffrey R. Waxman & Brya M. Keilson     bkeilson@morrisjames.com
                                                                                                                                         afriedman@shulmanbastian.com
 Agway Farm & Home Supply, LLC                             c/o Shulman Bastrian            Attn: Alan J. Friedman & Melissa Davis Lowe   mlowe@shulmanbastian.com
                                                                                                                                         ustpregion03.wl.ecf@usdoj.gov
 Office of the U.S. Trustee for the District of Delaware   Attn: Richard L. Schepacarter                                                 richard.schepacarter@usdoj.gov




In re: Agway Farm Home Supply, LLC
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